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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 LINDEN BUZZELL, individually and on
 behalf of all others similarly situated,          Civil Action No.: 1:23-cv-1028

               Plaintiff,

 v.

 MAXIMUS, INC. and MAXIMUS
 FEDERAL SERVICES, INC.,

               Defendants.

                                CLASS ACTION COMPLAINT

       Plaintiff Linden Buzzell (“Plaintiff”), individually and on behalf of a class of similarly

situated persons, brings this Class Action Complaint and alleges the following against defendants

Maximus, Inc. and Maximus Federal Services, Inc. (collectively “Maximus” or “Defendants”),

based upon personal knowledge with respect to Plaintiff and on information and belief derived

from, among other things, investigation of counsel and review of public documents as to all other

matters.

                                       INTRODUCTION

       1.      Plaintiff brings this class action against Maximus for its failure to properly secure

Plaintiff’s and Class Members’ personally identifiable information (“PII”) and personal health

information (“PHI”). The PII and PHI may have included victims’ names, Social Security

numbers, dates of birth, contact information, driver’s license numbers, health insurance

information, medical histories, and healthcare provider and prescription information.

       2.      Maximus failed to comply with industry standards to protect information systems

that contain PII and PHI. Plaintiff seeks, among other things, orders requiring Maximus to fully
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and accurately disclose the nature of the information that has been compromised and to adopt

sufficient security practices and safeguards to prevent incidents like the disclosure (the “Data

Breach”) in the future.

       3.      Maximus uses MOVEit Transfer (“MOVEit”) to exchange files and data between

servers, systems and applications. Maximus claims that, on May 30, 2023, it “detected unusual

activity in [its] MOVEit environment,” and that MOVEit’s developer disclosed the following

day that unauthorized parties had exploited a vulnerability in the software to gain access to the

files of multiple MOVEit users.

       4.      On June 7, 2023, government officials confirmed that the “CL0P Ransomware

Gang” (“CL0P”) was the unauthorized parties.

       5.      But Maximus did not disclose that its data was affected until July 26, 2023, when

it filed a report with the Securities and Exchange Commission (“SEC”) reflecting that the PII and

PHI “of at least 8 to 11 million individuals” in its files were exposed to CL0P (the “Data

Breach”).

       6.      Maximus could have prevented the recent Data Breach had it implemented

adequate vendor screening, and maintained adequate data security measures and protocols in

order to secure and protect Plaintiff’s and Class Members’ data.

       7.      As a vendor providing electronic health record and cloud-based storage services

to customers that collect and store PHI, Maximus knowingly obtains sensitive PII and PHI and

has a resulting duty to securely maintain that information in confidence. Plaintiff and Class

Members would not have provided their PII and PHI to Maximus customers if they had known

that Maximus would not ensure that it used adequate security measures.




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       8.       Plaintiff seeks to remedy these harms individually and on behalf of all other

similarly situated individuals whose PII and/or PHI were stolen in the Data Breach. Plaintiff

seeks remedies including compensation for time spent responding to the Data Breach and other

types of harm, free credit monitoring and identity theft insurance, and injunctive relief including

substantial improvements to Maximus’s data security policies and practices.

                                            PARTIES

       9.       Plaintiff Linden Buzzell is a Maine resident who is insured by Medicare. Plaintiff

received a letter from defendant Maximus Federal Services, Inc. and the Centers for Medicare

and Medicaid Services dated July 28, 2022. That letter reflects that Mr. Buzzell’s “personal and

Medicare information was involved” in the Data Breach, and the “information may have

included the following:

            •   Name

            •   Social Security Number or Individual Taxpayer Identiﬁcation Number

            •   Date of Birth

            •   Mailing Address

            •   Telephone Number, Fax Number, & Email Address

            •   Medicare Beneﬁciary Identiﬁer (MBI) or Health Insurance Claim Number

                (HICN)

            •   Driver’s License Number and State Identiﬁcation Number

            •   Medical History/Notes (including medical record/account numbers, conditions,

                diagnoses, dates of service, images, treatments, etc.)

            •   Healthcare Provider and Prescription Information

            •   Health Insurance Claims and Policy/Subscriber Information


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              •   Health Beneﬁts & Enrollment Information.” 1

       10.        Defendant Maximus, Inc. is a Virginia corporation, with its principal place of

business in McLean, Virginia.

       11.        Defendant Maximus Federal Services, Inc. is a Virginia corporation, with its

principal place of business in McLean, Virginia. Maximus Federal Services, Inc. is a subsidiary

of defendant Maximus, Inc.

                                   JURISDICTION AND VENUE

       12.        This Court subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332(d)(2)(A), as modified by the Class Action Fairness Act of 2005, because at least one

member of the Class is a citizen of a different state than Maximus, there are more than 100 class

members, and the aggregate amount in controversy exceeds $5,000,000 exclusive of interests

and costs.

       13.        This Court has personal jurisdiction over Maximus because Maximus maintains

its principal place of business in Virginia and conducts substantial business in this District

through its principal place of business; engaged in the conduct at issue herein from and within

this District; and otherwise has substantial contacts with this District.

       14.        Venue is proper in this Court and Division pursuant to 28 U.S.C. § 1391(b)(1) and

(2) because Maximus resides in this District, and this District is where a substantial part of the

acts, omissions, and events giving rise to Plaintiff’s claims occurred.




       1
           Ex. 1, Notice Letter, at 1-2.

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                                   FACTUAL ALLEGATIONS

                                         The Data Breach

       15.       Maximus maintains offices in ten countries, and describes its business as

“partner[ing] with state, federal and local governments to provide communities with critical

health and human service programs.” 2 Due to the nature of the services it provides, Maximus

acquires and electronically stores PII and PHI. Maximus was therefore required to ensure that PII

and PHI were not disclosed or disseminated to unauthorized third parties without Plaintiff’s and

Class Members’ express written consent.

       16.       Maximus claims that, on May 30, 2023, it “detected unusual activity in [its]

MOVEit environment.” 3 Maximus further claims that the following day “the developer of

MOVEit … announced a … vulnerability in the application that allowed unauthorized third

parties to access its customers’ MOVEit environments.” 4

       17.       July 26, 2023, Maximus filed a report with the Securities and Exchange

Commission (“SEC”) reflecting that the PII and PHI “of at least 8 to 11 million individuals” in

its files were exposed to CL0P (the “Data Breach”). 5 But Maximus has not apparently posted a

notice of the Data Breach on its website. Nor has it reported the incident to the U.S. Department

of Health and Human Services Office for Civil Rights, as is required by law, or made any




       2
         “Better solutions for better lives,” available at https://maximus.com/our-company (last
visited August 2, 2023).
       3
         Maximus form notification letter, July 28, 2023, available at https://dojmt.gov/wp-
content/uploads/Consumer-notification-letter-488.pdf (last visited August 2, 2023).
       4
         Maximus, Inc. Form 8-K, July 26, 2023, available at
https://www.sec.gov/ix?doc=/Archives/edgar/data/1032220/000103222023000061/mms-
20230726.htm (last visited August 2, 2023).
       5
           Id.

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disclosure to the governments of any of several states in which affected individuals may be

located.

       18.     Maximus’s disclosures are otherwise deficient. They do not include basic details

concerning the Data Breach, including, but not limited to, why PII and PHI were stored on

systems without adequate security, the deficiencies in the security systems that permitted

unauthorized access, whether the data was encrypted or otherwise protected, and what Maximus

knows about the degree to which the data has been disseminated.

       19.     Maximus has not nearly disclosed all the details of the Data Breach and its

investigation. Without such disclosure, questions remain as to the full extent of the Data Breach,

the actual data accessed and compromised, and what measures, if any, Maximus has taken to

secure the PII and PHI still in its possession. Plaintiff seeks to determine the scope of the Data

Breach and the information involved, obtain relief that redresses the harm to Plaintiff’s and Class

Members’ interests, and ensure that Maximus has proper measures in place to prevent similar

incidents from occurring in the future.

                                   Maximus’s Privacy Policies

       20.     The Health Insurance Portability and Accountability Act (‘HIPAA’) requires that

Maximus maintain strict privacy practices. Maximus provides services to Plaintiff and other

Maine Medicare recipients. A Maine Department of Health and Human Services document on

Maximus’s website reflects that “INFORMATION GATHERED FROM ANY SOURCE

DURING THE ASSESSMENT PROCESS MUST BE TREATED AS CONFIDENTIAL




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HIPAA AND OTHER FEDERAL AND STATE LAWS AND REGULATIONS GOVERN

DISCLOSURE OF CONFIDENTIAL INFORAMTION [sic].” 6

       21.     A Maximus Privacy Statement directed to Maine residents claims that “Maximus

maintains policies that protect the confidentiality of personal information obtained in the course

of its regular business functions. Maximus privacy policies impose a number of standards to

guard the confidentiality, prohibit the unlawful disclosure, and limit access to personal

information (such as Social Security Numbers and Medicaid ID numbers). Maximus safeguards

personal information by having physical, technical, and administrative safeguards in place.” 7

                The Healthcare Sector is a Primary Target for Data Breaches

       22.     Maximus was on notice that companies in the healthcare industry are susceptible

targets for data breaches.

       23.     Maximus was also on notice that the Federal Bureau of Investigation has been

concerned about data security in the healthcare industry. On April 8, 2014, the FBI’s Cyber

Division issued a Private Industry Notification to companies within the healthcare sector, stating

that “the health care industry is not technically prepared to combat against cyber criminals’ basic

cyber intrusion tactics, techniques and procedures (TTPs), much less against more advanced

persistent threats (APTs)” and pointed out that “[t]he biggest vulnerability was the perception of

IT healthcare professionals’ beliefs that their current perimeter defenses and compliance

strategies were working when clearly the data states otherwise.” The same warning specifically


       6
         MED Referral Instructions, at 2 (capitals in original) available at
https://maximus.com/sites/default/files/svcs/documents/ME-ASA-Med-Referral-Instructions-
Update%2009.26.18.pdf (last visited August 2, 2023).
       7
          Maximus Federal Portal for Maine Surprise Bill Independent Dispute Resolution
Privacy Statement, at 2, available at
https://dispute.maximus.com/me/resource/1614634710000/PrivacyPolicy (last visited August 2,
2023).

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noted that “[t]he FBI has observed malicious actors targeting healthcare-related systems, perhaps

for the purpose of obtaining Protected Health Information (PHI) and/or PII.” 8

       24.       The number of reported North American data breaches increased by over 50

percent in 2021, from 1,080 in 2020 9, to 1,638 in 2021. 10 As a recent report reflects,

“[h]ealthcare has increasingly become a target of run-of-the-mill hacking attacks and the more

impactful ransomware campaigns.” 11

       25.       At the end of 2018, the healthcare sector ranked second in the number of data

breaches among measured sectors, and had the highest rate of exposure for each breach. 12

Indeed, when compromised, healthcare related data is among the most sensitive and personally

consequential. A report focusing on healthcare breaches found that the “average total cost to

resolve an identity theft-related incident . . . came to about $20,000,” and that the victims were

often forced to pay out-of-pocket costs for healthcare they did not receive in order to restore

coverage. 13 Almost 50 percent of the victims lost their healthcare coverage as a result of the



       8
          Health Care Systems and Medical Devices at Risk for Increased Cyber Intrusions for
Financial Gain (Apr. 8, 2014), FBI Cyber Division Private Industry Notification (available at
https://info.publicintelligence.net/FBI-HealthCareCyberIntrusions.pdf) (last accessed Mar. 14,
2023).
       9
         See Verizon 2021 Data Breach Investigations Report, at 97, https://www.verizon.com/
business/resources/reports/2021-data-breach-investigations-report.pdf (last accessed Mar. 14,
2023).
       10
          See Verizon 2022 Data Breach Investigations Report, at 83 (available at
https://www.verizon.com/ business/resources/reports/2022/dbir/2022-data-breach-investigations-
report-dbir.pdf) (last accessed Mar. 14, 2023).
       11
            Id. at 62.
       12
          2018 End-of-Year Data Breach Report, Identity Theft Resource Center (available at
https://www.idtheftcenter.org/2018-data-breaches) (last accessed Mar. 14, 2023).
       13
          Elinor Mills, Study: Medical identity theft is costly for victims, CNET (March 3, 2010)
(available at https://www.cnet.com/news/study-medical-identity-theft-is-costly-for-victims/) (last
accessed Mar. 14, 2023).

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incident, while nearly 30 percent said their insurance premiums went up after the event. Forty

percent of the customers were never able to resolve their identity theft at all. Data breaches and

identity theft have a crippling effect on individuals and detrimentally impact the economy. 14

        26.        Healthcare-related breaches have persisted because criminals see electronic

patient data as a valuable asset. According to the 2019 HIMSS Cybersecurity Survey, 82 percent

of participating hospital information security leaders reported having a significant security

incident in the previous 12 months, with a majority of these known incidents being caused by

“bad actors” such as cybercriminals. 15 “Hospitals have emerged as a primary target because they

sit on a gold mine of sensitive personally identifiable information for thousands of patients at any

given time. From social security and insurance policies, to next of kin and credit cards, no other

organization, including credit bureaus, have so much monetizable information stored in their data

centers.” 16

        27.        The American Medical Association (“AMA”) has also warned healthcare

companies about the importance of protecting their patients’ confidential information:

               Cybersecurity is not just a technical issue; it’s a patient safety issue.
               AMA research has revealed that 83% of physicians work in a practice
               that has experienced some kind of cyberattack. Unfortunately, practices
               are learning that cyberattacks not only threaten the privacy and security
               of patients’ health and financial information, but also patient access to
               care. 17

        14
             Id.
        15
          2019 HIMSS Cybersecurity Survey (available at
https://www.himss.org/sites/hde/files/d7/
u132196/2019_HIMSS_Cybersecurity_Survey_Final_Report.pdf) (last accessed Mar. 14, 2023).
        16
          Inside Digital Health, How to Safeguard Hospital Data from Email Spoofing Attacks,
Apr. 4, 2019 (available at https://www.idigitalhealth.com/news/how-to-safeguard-hospital-data-
from-email-spoofing-attacks) (last accessed Mar. 14, 2023).
        17
       Andis Robeznieks, Cybersecurity: Ransomware attacks shut down clinics, hospitals,
Am. Med. Ass’n (Oct. 4, 2019) (available at https://www.ama-assn.org/practice-


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       28.     As a major healthcare services provider, Maximus knew, or should have known,

the importance of safeguarding Plaintiff’s and Class Members’ PII and PHI entrusted to it and of

the foreseeable consequences if that data was disclosed. This includes the significant costs that

would be imposed on Plaintiff and Class Members by virtue of a breach. Maximus failed,

however, to take adequate cybersecurity measures to prevent the Data Breach.

                Maximus Stores Plaintiff’s and Class Members’ PII and PHI

       29.     Maximus obtains and stores a massive amount of PII and PHI. As a condition of

engaging in health care services, Maximus customers require that patients entrust them with

highly confidential PII and PHI.

       30.     By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and Class

Members’ PII and PHI, Maximus assumed legal and equitable duties and knew or should have

known that it was responsible for protecting Plaintiff’s and Class Members’ PII and PHI from

disclosure.

       31.     Plaintiff and Class Members have taken reasonable steps to maintain the

confidentiality of their PII and PHI and rely on Maximus to keep this information confidential

and securely maintained, and to make only authorized disclosures of this information.

              PII and PHI are Valuable and Subject to Unauthorized Disclosure

       32.     Maximus was aware that the PII and PHI it collects is highly sensitive and of

significant value to those who would use it for wrongful purposes.

       33.     PII and PHI are valuable commodities to identity thieves. As the FTC recognizes,

identity thieves can use this information to commit an array of crimes including identify theft,



management/sustainability/cybersecurity-ransomware-attacks-shut-down-clinics-hospitals) (last
visited Mar. 14, 2023).

                                                10
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and medical and financial fraud. 18 Indeed, a robust illegal market exists in which criminals

openly post stolen PII and PHI on multiple underground websites, commonly referred to as the

“dark web.” PHI can sell for as much as $363 on the dark web, according to the Infosec

Institute. 19

         34.    PHI is particularly valuable because criminals can use it to target victims with

frauds and swindles that take advantage of the victim’s medical conditions or victim settlements.

It can be used to create fake insurance claims, allowing for the purchase and resale of medical

equipment, or gain access to prescriptions for illegal use or resale.

         35.    Medical identify theft can result in inaccuracies in medical records and costly

false claims. It can also have life-threatening consequences. If a victim’s PHI is mixed with other

records, it can lead to misdiagnosis or mistreatment. “Medical identity theft is a growing and

dangerous crime that leaves its victims with little to no recourse for recovery,” reported Pam

Dixon, executive director of World Privacy Forum. “Victims often experience financial

repercussions and worse yet, they frequently discover erroneous information has been added to

their personal medical files due to the thief’s activities.” 20

         36.    The ramifications of Maximus’s failure to keep Plaintiff’s and Class Members’

PII and PHI secure are long-lasting and severe. Once PII and PHI are stolen, fraudulent use of




         18
          Federal Trade Commission, What To Know About Identity Theft (available at
https://consumer.ftc.gov/articles/what-know-about-identity-theft) (last accessed Mar. 14, 2023).
         19
          Center for Internet Security, Data Breaches: In the Healthcare Sector (available at
https://www.cisecurity.org/blog/data-breaches-in-the-healthcare-sector/) (last accessed Mar. 14,
2023).
         20
          Michael Ollove, The Rise of Medical Identity Theft in Healthcare, Kaiser Health News
(Feb. 7, 2014) (available at https://khn.org/news/rise-of-indentity-theft/) (last accessed Mar. 14,
2023).

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that information and damage to victims may continue for years. Fraudulent activity might not

show up for months or even years thereafter.

       37.     Further, criminals often trade stolen PII and PHI for years following a breach.

Cybercriminals can post stolen PII and PHI on the internet, thereby making such information

publicly available.

       38.     Approximately 21% of victims do not realize their identity has been compromised

until more than two years after it has happened. 21 This gives thieves ample time to seek multiple

treatments under the victim’s name. Forty percent of consumers found out they were a victim of

medical identity theft only when they received collection letters from creditors for expenses that

were incurred in their names. 22

       39.     Maximus knew, or should have known, the importance of safeguarding PII and

PHI entrusted to it and of the foreseeable consequences if its data security systems were

breached. This includes the significant costs that would be imposed on Plaintiff and Class

Members because of a breach. Maximus failed, however, to take adequate cybersecurity

measures to prevent the Data Breach from occurring.

                      The Data Breach Exposed Plaintiff and Class Members
                           to Identity Theft and Out-of-Pocket Losses

       40.     Plaintiff and Class Members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of their rights. They are incurring and will

continue to incur such damages in addition to any fraudulent use of their PII and PHI.



       21
          See Medical ID Theft Checklist (available at
https://www.identityforce.com/blog/medical-id-theft-checklist-2) (last accessed Mar. 14, 2023).
       22
         Experian, The Potential Damages and Consequences of Medical Identityy Theft and
Healthcare Data Breaches (available at https://www.experian.com/assets/data-breach/white-
papers/consequences-medical-id-theft-healthcare.pdf) (last accessed Mar. 14, 2023).

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        41.      Despite all the publicly available knowledge of known and foreseeable

consequences of the disclosure of PII and PHI, Maximus’s policies and practices with respect to

maintaining the security of Plaintiff’s and Class Members’ PII and PHI were reckless, or at the

very least, negligent.

        42.      In virtually all contexts, the expenditure of time has consistently been recognized

as compensable, and for many people, it is the basis on which they are compensated. Plaintiff

and Class Members should be compensated for the time they have expended because of

Maximus’s misfeasance.

        43.      Once PII and PHI are stolen, fraudulent use of that information and damage to

victims may continue for years. Consumer victims of data breaches are more likely to become

victims of identity fraud. 23

        44.      As a result of the wide variety of injuries that can be traced to the Data Breach,

Plaintiff and Class Members have and will continue to suffer financial loss and other actual harm

for which they are entitled to damages, including, but not limited to, the following:

              a. losing the inherent value of their PII and PHI;

              b. identity theft and fraud resulting from the theft of their PII and PHI;

              c. costs associated with the detection and prevention of identity theft;

              d. costs associated with purchasing credit monitoring, credit freezes, and identity

                 theft protection services;

              e. lowered credit scores resulting from credit inquiries following fraudulent

                 activities;


        23
              2014 LexisNexis True Cost of Fraud Study (available at
https://www.lexisnexis.com/risk/downloads/assets/true-cost-fraud-2014.pdf) (last accessed Mar.
14, 2023).

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             f. costs associated with time spent and the loss of productivity or the enjoyment of

                one’s life from taking time to address and attempt to mitigate and address the

                actual and future consequences of the Data Breach, including discovering

                fraudulent charges, cancelling and reissuing cards, purchasing credit monitoring

                and identity theft protection services, imposing withdrawal and purchase limits on

                compromised accounts, and the stress, nuisance, and annoyance of dealing with

                the repercussions of the Data Breach; and

             g. the continued imminent injury flowing from potential fraud and identify theft

                posed by their PII and PHI being in the possession of one or more unauthorized

                third parties.

                            Maximus’s Lax Security Violates HIPAA

       45.      Maximus had a non-delegable duty to ensure that all PHI it collected and stored

was secure.

       46.      Maximus is bound by HIPAA (see 45 C.F.R. § 160.102) and, as a result, is

required to comply with the HIPAA Privacy Rule and Security Rule, 45 C.F.R Part 160 and Part

164, Subparts A and E (“Standards for Privacy of Individually Identifiable Health Information”),

and Security Rule (“Security Standards for the Protection of Electronic Protected Health

Information”), 45 C.F.R. Part 160 and Part 164, Subparts A and C.

       47.      These rules establish national standards for the protection of patient information,

including protected health information, defined as “individually identifiable health information”

which either “identifies the individual” or where there is a “reasonable basis to believe the

information can be used to identify the individual,” that is held or transmitted by a healthcare

provider. See 45 C.F.R. § 160.103.



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       48.      HIPAA limits the permissible uses of “protected health information” and prohibits

unauthorized disclosures of “protected health information.”

       49.      HIPAA requires that Maximus implement appropriate safeguards for this

information.

       50.      Despite these requirements, Maximus failed to comply with its duties under

HIPAA and its own Privacy Practices. In particular, Maximus failed to:

             a. maintain an adequate data security system to reduce the risk of data breaches

                and cyber-attacks;

             b. adequately protect Plaintiff’s and Class Members’ PHI;

             c. ensure the confidentiality and integrity of electronic PHI created, received,

                maintained, or transmitted, in violation of 45 C.F.R. § 164.306(a)(1);

             d. implement technical policies and procedures for electronic information systems

                that maintain electronic PHI to allow access only to those persons or software

                programs that have been granted access rights, in violation of 45 C.F.R. §

                164.312(a)(1);

             e. implement adequate policies and procedures to prevent, detect, contain, and

                correct security violations, in violation of 45 C.F.R. § 164.308(a)(1)(i);

             f. implement adequate procedures to review records of information system activity

                regularly, such as audit logs, access reports, and security incident tracking

                reports, in violation of 45 C.F.R. § 164.308(a)(1)(ii)(D);

             g. protect against reasonably anticipated uses or disclosures of electronic PHI that

                are not permitted under the privacy rules regarding individually identifiable

                health information, in violation of 45 C.F.R. § 164.306(a)(3);



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              h. ensure compliance with the electronic PHI security standard rules by its

                 workforce, in violation of 45 C.F.R. § 164.306(a)(4); and/or

              i. train all members of its workforce effectively on the policies and procedures with

                 respect to PHI as necessary and appropriate for the members of its workforce to

                 carry out their responsibilities and to maintain security of PHI, in violation of 45

                 C.F.R. § 164.530(b)

       51.       Maximus failed to comply with its duties under HIPAA despite being aware of

the risks associated with unauthorized access to Plaintiff’s and Class Members’ PHI.

                                Maximus Violated FTC Guidelines

       52.       The Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 45, prohibited

Maximus from engaging in “unfair or deceptive acts or practices in or affecting commerce.” The

Federal Trade Commission (“FTC”) has concluded that a company’s failure to maintain

reasonable and appropriate data security for consumers’ PII is an “unfair practice” in violation of

the FTC Act. See, e.g., Fed. Trade Comm’n v. Wyndham Worldwide Corp., 799 F.3d 236 (3d

Cir. 2015).

       53.       The FTC has promulgated several guides for businesses that reflect the

importance of implementing reasonable data security practices. According to the FTC, the need

for data security should be factored into all business decision-making. 24




       24
          Federal Trade Commission, Start With Security: A Guide for Business (available at
https://www.ftc.gov/system/files/documents/plain-language/pdf0205-startwithsecurity.pdf) (last
accessed Mar. 14, 2023).

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       54.     In 2016, the FTC updated its publication, Protecting Personal Information: A

Guide for Business, which established data security guidelines for businesses. 25 The guidelines

reflect that businesses should protect the PII that they keep; properly dispose of PII that is no

longer needed; encrypt information stored on computer networks; understand their network’s

vulnerabilities; and implement policies to correct any security problems.

       55.     The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction; limit access to confidential data; require complex

passwords to be used on networks; use industry-tested methods for security; monitor for

suspicious activity on the network; and verify that third-party service providers have

implemented reasonable security measures. 26

       56.     The FTC has brought enforcement actions against businesses for failing to protect

customer data adequately and reasonably, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45. Orders resulting

from these actions further clarify the measures businesses must take to meet their data security

obligations.

       57.     Maximus failed to properly implement basic data security practices. Maximus’s

failure to employ reasonable and appropriate measures to protect against unauthorized access to

Plaintiff’s and Class Members’ PII and PHI constitutes an unfair act or practice prohibited by

Section 5 of the FTC Act, 15 U.S.C. § 45.



       25
          Federal Trade Commission, Protecting Personal Information: A Guide for Business
(available at https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-
personal-information.pdf) (last accessed Mar. 14, 2023).
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               FTC, Start With Security, supra.

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       58.      Maximus was at all times fully aware of its obligation to protect Plaintiff’s and

Class Members’ PII and PHI because of its position as a healthcare provider. Maximus was also

aware of the significant repercussions that would result from its failure to do so.

                               CLASS ACTION ALLEGATIONS

       59.      Pursuant to Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure,

Plaintiff seeks certification of a Class as defined below:

       All persons in the United States and its territories whose PII and/or PHI was
       compromised in the Data Breach.

       60.      Excluded from the Class are Maximus, any entity in which Maximus has a

controlling interest, and Maximus’s officers, directors, legal representatives, successors,

subsidiaries, and assigns. Also excluded from the Class are any judicial officer presiding over

this matter, members of their immediate family, and members of their judicial staff.

       61.      Plaintiff reserves the right to modify or amend the definition of the proposed

Class as additional information becomes available to Plaintiff.

       62.      Numerosity: The Class Members are so numerous that individual joinder of all

Class Members is impracticable. Maximus has disclosed that the Data Breach affected 8 to 11

million individuals. All Class Members’ names and addresses are available from Maximus’s

records, and Class Members may be notified of the pendency of this action by recognized, Court-

approved notice dissemination methods.

       63.      Commonality: There are questions of law and fact common to the Class, which

predominate over any questions affecting only individual Class Members. These common

questions of law and fact include, without limitation:

             a. Whether and to what extent Maximus had a duty to protect the PII and PHI of

                Class Members;


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             b. Whether Maximus was negligent in collecting and storing Plaintiff’s and Class

                Members’ PII and PHI;

             c. Whether Maximus had duties not to disclose the PII and PHI of Class Members to

                unauthorized third parties;

             d. Whether Maximus took reasonable steps and measures to safeguard Plaintiff’s

                and Class Members’ PII and PHI;

             e. Whether Maximus failed to adequately safeguard the PII and PHI of Class

                Members;

             f. Whether Maximus failed to implement and maintain reasonable security policies

                and practices appropriate to the nature and scope of the PII and PHI compromised

                in the Data Breach;

             g. Whether Maximus adequately, promptly, and accurately informed Plaintiff and

                Class Members that their PII and PHI had been compromised;

             h. Whether Plaintiff and Class Members are entitled to actual damages, statutory

                damages, and/or punitive damages because of Maximus’s wrongful conduct;

             i. Whether Plaintiff and Class Members are entitled to restitution because of

                Maximus’s wrongful conduct;

             j. Whether Plaintiff and Class Members are entitled to injunctive relief to redress

                the imminent and ongoing harm they face because of the Data Breach; and

             k. Whether Plaintiff and Class Members are entitled to identity theft protection for

                their respective lifetimes.

       64.      Typicality: Plaintiff’s claims are typical of those of other Class Members because

Plaintiff’s PII and PHI, like that of every other Class Member, was disclosed by Maximus.



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Plaintiff’s claims are typical of those of the other Class Members because, inter alia, all Class

Members were injured through Maximus’s common misconduct. Plaintiff is advancing the same

claims and legal theories individually and on behalf of all other Class Members, and there are no

defenses that are unique to Plaintiff. Plaintiff’s claims and Class Members’ claims arise from the

same operative facts and are based on the same legal theories.

        65.     Adequacy: Plaintiff is an adequate representative of the Class because Plaintiff is

a member of the Class and is committed to pursuing this matter against Maximus to obtain relief

for the Class. Plaintiff has no conflicts of interest with the Class. Plaintiff’s counsel are

competent and experienced in litigating class actions, including extensive experience in data

breach litigation. Plaintiff intends to vigorously prosecute this case and will fairly and adequately

protect the Class’s interests.

        66.     Policies Generally Applicable to the Class: This class action is also appropriate

for certification because Maximus has acted or refused to act on grounds generally applicable to

the Class, thereby requiring the Court’s imposition of uniform relief to ensure compatible

standards of conduct toward the Class Members, and making final injunctive relief appropriate

with respect to the Class as a whole. Maximus’s policies challenged herein apply to and affect

Class Members uniformly and Plaintiff’s challenge of these policies hinges on Maximus’s

conduct with respect to the Class as a whole, not on facts or law applicable only to Plaintiff.

        67.     Superiority: Class litigation is an appropriate method for fair and efficient

adjudication of the claims involved. Class action treatment is superior to all other available

methods for the fair and efficient adjudication of the controversy alleged herein; it will permit a

large number of Class Members to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, and



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expense that hundreds of individual actions would require. Class action treatment will permit the

adjudication of relatively modest claims by certain Class Members, who could not individually

afford to litigate a complex claim against large corporations, like Maximus. Even for those Class

Members who could afford to litigate such a claim, it would still be economically impractical

and impose a burden on the courts.

        68.     The nature of this action and the nature of laws available to Plaintiff and Class

Members make the use of the class action device a particularly efficient and appropriate

procedure to afford relief to Plaintiff and Class Members for the wrongs alleged because

Maximus would necessarily gain an unconscionable advantage in non-class litigation, since

Maximus would be able to exploit and overwhelm the limited resources of each individual Class

Member with superior financial and legal resources; the costs of individual suits could

unreasonably consume the amounts that would be recovered; proof of a common course of

conduct to which Plaintiff was exposed is representative of that experienced by Class Members

and will establish the right of each Class Member to recover on the causes of action alleged; and

individual actions would create a risk of inconsistent results and would be unnecessary and

duplicative of this litigation.

        69.     The litigation of Plaintiff’s claims is manageable. Maximus’s uniform conduct,

the consistent provisions of the relevant laws, and the ascertainable identities of Class Members

demonstrate that there would be no significant manageability problems with maintenance of this

lawsuit as a class action.

        70.     Adequate notice can be given to Class Members directly using information

maintained in Maximus’s records.




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       71.     Unless a class-wide injunction is issued, Maximus may continue to maintain

inadequate security with respect to the PII and PHI of Class Members, Maximus may continue to

refuse to provide proper notification to Class Members regarding the Data Breach, and Maximus

may continue to act unlawfully as set forth in this Complaint.

       72.     Maximus has acted or refused to act on grounds generally applicable to the Class

and, accordingly, final injunctive or corresponding declaratory relief with regard to the Class

Members as a whole is appropriate.

                                            COUNT I
                                        NEGLIGENCE
                              (on behalf of Plaintiff and the Class)

       73.     Plaintiff re-alleges and incorporates by reference herein all the allegations

contained in the preceding paragraphs.

       74.     Maximus knowingly collected, came into possession of, and maintained

Plaintiff’s and Class Members’ PII and PHI, and had a duty to exercise reasonable care in

safeguarding, securing and protecting such information from being compromised, lost, stolen,

misused, and/or disclosed to unauthorized parties. That duty included, among other things,

designing, maintaining, and testing Maximus’s security protocols to ensure that Plaintiff’s and

Class Members’ PII and PHI in Maximus’s possession was adequately secured and protected,

that Plaintiff’s and Class Members’ PII and PHI on Maximus’s networks were not accessible to

criminals without authorization, and that Maximus employees tasked with maintaining such

information were adequately trained on security measures regarding the security of Plaintiff’s

and Class Members’ PII and PHI.

       75.     Plaintiff and Class Members entrusted their PII and PHI to Maximus with the

understanding that Maximus would safeguard their information, use their PII and PHI for

business purposes only, and not disclose their PII and PHI to unauthorized third parties.
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       76.     Maximus knew or reasonably should have known that a failure to exercise due

care in the collecting, storing, and using Plaintiff’s and Class Members’ PII and PHI involved an

unreasonable risk of harm to Plaintiff and Class Members.

       77.     Maximus also had a duty to have procedures in place to detect and prevent the

improper access and misuse of Plaintiff’s and Class Members’ PII and PHI.

       78.     A breach of security, unauthorized access, and resulting injury to Plaintiff and

Class Members was reasonably foreseeable, particularly in light of prior data breaches and

disclosures prevalent in today’s digital landscape, including the explosion of data breaches

involving similarly situated healthcare providers.

       79.     Plaintiff and Class Members were the foreseeable and probable victims of any

inadequate security practices and procedures. Maximus knew or should have known of the

inherent risks in collecting and storing Plaintiff’s and Class Members’ PII and PHI, the critical

importance of providing adequate security of that information, the necessity for encrypting PHI

stored on Maximus’s systems, and that it had inadequate IT security protocols in place to secure

Plaintiff’s and Class Members’ PII and PHI.

       80.     Maximus’s own conduct created a foreseeable risk of harm to Plaintiff and Class

Members. Maximus’s misconduct included, but was not limited to, failure to take the steps and

opportunities to prevent the Data Breach as set forth herein.

       81.     Plaintiff and Class Members had no ability to protect their PII and PHI that was in

Maximus’s possession.

       82.     Maximus was in a position to protect against the harm suffered by Plaintiff and

Class Members as a result of the Data Breach.




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       83.    Maximus had, and continues to have, a duty to timely disclose that Plaintiff’s and

Class Members’ PII and PHI within its possession was compromised and precisely the type(s) of

information that were compromised.

       84.    Maximus had a duty to have procedures in place to detect and prevent the loss or

unauthorized dissemination of Plaintiff’s and Class Members’ PII and PHI.

       85.    Maximus systematically failed to provide adequate security for data in its

possession.

       86.    Maximus, through its actions and/or omissions, unlawfully breached its duty to

Plaintiff and Class Members by failing to exercise reasonable care in protecting and safeguarding

Plaintiff’s and Class Members’ PII and PHI within its possession.

       87.    Maximus, through its actions and/or omissions, unlawfully breached its duty to

Plaintiff and Class Members by failing to have appropriate procedures in place to detect and

prevent dissemination of Plaintiff’s and Class Members’ PII and PHI.

       88.    Maximus, through its actions and/or omissions, unlawfully breached its duty to

timely disclose to Plaintiff and Class Members that the PII and PHI within Maximus’s

possession might have been compromised and precisely the type of information compromised.

       89.    Maximus’s breach of duties owed to Plaintiff and Class Members caused

Plaintiff’s and Class Members’ PII and PHI to be compromised.

       90.    But for all of Maximus’s acts of negligence detailed above, including allowing

cyber criminals to access its systems containing Plaintiff’s and Class Members’ PII and PHI

would not have been compromised.

       91.    Plaintiff never transmitted his own unencrypted PHI over the internet or any other

unsecured source.



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       92.     Following the Data Breach, Plaintiff’s PHI has been seized by unauthorized third

parties who are now free to exploit and misuse that PHI without any ability for Plaintiff to

recapture and erase that PHI from further dissemination—Plaintiff’s PHI is forever

compromised.

       93.     But for the Data Breach, Plaintiff would not have incurred the loss and

publication of his PHI and other injuries.

       94.     There is a close causal connection between Maximus’s failure to implement

security measures to protect Plaintiff’s and Class Members’ PII and PHI and the harm suffered,

or risk of imminent harm suffered by Plaintiff and Class Members. Plaintiff’s and Class

Members’ PHI was accessed and compromised as the proximate result of Maximus’s failure to

exercise reasonable care in safeguarding such PII and PHI by adopting, implementing, and

maintaining appropriate security measures and encryption.

       95.     Plaintiff and Class Members now face years of constant surveillance of their

financial and personal records, monitoring, loss of privacy, and loss of rights. The Class is

incurring and will continue to incur such damages in addition to any fraudulent use of their PII

and PHI.

       96.     As a result of Maximus’s negligence and breach of duties, Plaintiff and Class

Members are in danger of imminent harm in that their PII and PHI, which is still in the

possession of third parties, will be used for fraudulent purposes.

       97.     Plaintiff seeks the award of actual damages on behalf of themselves and the Class.

       98.     Plaintiff seeks injunctive relief on behalf of the Class in the form of an order (1)

compelling Maximus to institute appropriate data collection and safeguarding methods and

policies with regard to patient information; and (2) compelling Maximus to provide detailed and



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specific disclosure of what types of PII and PHI have been compromised as a result of the data

breach.

                                             COUNT II
                                      NEGLIGENCE PER SE
                                (on behalf of Plaintiff and the Class)

          99.    Plaintiff re-alleges and incorporates by reference herein all the allegations

contained in the preceding paragraphs.

          100.   Pursuant to HIPAA (42 U.S.C. § 1302d et seq.) and the FTC Act, Maximus was

required by law to maintain adequate and reasonable data and cybersecurity measures to

maintain the security and privacy of Plaintiff’s and Class Members’ PHI and PII.

          101.   Maximus breached its duties by failing to employ industry standard data and

cybersecurity measures to ensure its compliance with those laws, including, but not limited to,

proper segregation, access controls, password protection, encryption, intrusion detection, secure

destruction of unnecessary data, and penetration testing.

          102.   It was reasonably foreseeable, particularly given the growing number of data

breaches of health information, that the failure to reasonably protect and secure Plaintiff’s and

Class Members’ PII and PHI in compliance with applicable laws would result in an unauthorized

third-party gaining access to Maximus’s networks, databases, and computers that stored or

contained Plaintiff’s and Class Members’ PII and PHI.

          103.   Plaintiff’s and Class Members’ PII and PHI constitute personal property that was

stolen due to Maximus’s negligence, resulting in harm, injury and damages to Plaintiff and Class

Members.

          104.   Maximus’s conduct in violation of applicable laws directly and proximately

caused the unauthorized access and disclosure of Plaintiff’s and Class Members’ unencrypted PII

and PHI, and Plaintiff and Class Members have suffered and will continue to suffer damages as a
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result of Maximus’s conduct. Plaintiff and Class Members seek damages and other relief as a

result of Maximus’s negligence.

                                         COUNT III
                            BREACH OF IMPLIED CONTRACT
                             (on behalf of Plaintiff and the Class)

       105.    Plaintiff re-alleges and incorporates by reference herein all the allegations

contained in the preceding paragraphs.

       106.    When Plaintiff and Class Members provided their PII and PHI to Maximus, they

entered into implied contracts with Maximus, under which Maximus agreed to take reasonable

steps to protect Plaintiff’s and Class Members’ PII and PHI, comply with it statutory and

common law duties to protect Plaintiff’s and Class Members’ PII and PHI, and to timely notify

them in the event of a data breach.

       107.    Maximus solicited and invited Plaintiff and Class Members to provide their PII

and PHI as part of Maximus’s provision of healthcare support services. Plaintiff and Class

Members accepted Maximus’s offers and provided their PII and PHI to Maximus.

       108.    When entering into implied contracts, Plaintiff and Class Members reasonably

believed and expected that Maximus’s data security practices complied with its statutory and

common law duties to adequately protect Plaintiff’s and Class Members’ PII and PHI and to

timely notify them in the event of a data breach.

       109.    Maximus’s implied promise to safeguard PII and PHI is evidenced by, e.g., the

representations in Maximus’s privacy policies set forth above.

       110.    Plaintiff and Class Members would not have provided their PII and PHI to

Maximus had they known that Maximus would not safeguard their PII and PHI, as promised, or

provide timely notice of a data breach.



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       111.   Plaintiff and Class Members fully performed their obligations under their implied

contracts with Maximus.

       112.   Maximus breached its implied contracts with Plaintiff and Class Members by

failing to safeguard Plaintiff’s and Class Members’ PII and PHI and by failing to provide them

with timely and accurate notice of the Data Breach.

       113.   The losses and damages Plaintiff sustained, include, but are not limited to:

           a. Theft of their PII and PHI;

           b. Costs associated with purchasing credit monitoring and identity theft protection

              services;

           c. Costs associated with the detection and prevention of identity theft and

              unauthorized use of their PII and PHI;

           d. Lowered credit scores resulting from credit inquiries following fraudulent

              activities;

           e. Costs associated with time spent and the loss of productivity from taking time to

              address and attempt to ameliorate, mitigate, and deal with the actual and future

              consequences of the Data Breach – including finding fraudulent charges,

              cancelling, and reissuing cards, enrolling in credit monitoring and identity theft

              protection services, freezing and unfreezing accounts, and imposing withdrawal

              and purchase limits on compromised accounts;

           f. The imminent and certainly impending injury flowing from the increased risk of

              potential fraud and identity theft posed by their PII and PHI being placed in the

              hands of criminals;




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           g. Damages to and diminution in value of their PII and PHI entrusted, directly or

               indirectly, to Maximus with the mutual understanding that Maximus would

               safeguard Plaintiff’s and Class Members’ data against theft and not allow access

               and misuse of their data by others;

           h. Continued risk of exposure to hackers and thieves of their PII and PHI, which

               remains in Maximus’s possession and is subject to further breaches so long as

               Maximus fails to undertake appropriate and adequate measures to protect

               Plaintiff’s and Class Members’ data; and

           i. Emotional distress from the unauthorized disclosure of PII and PHI to strangers

               who likely have nefarious intentions and now have prime opportunities to commit

               identity theft, fraud, and other types of attacks on Plaintiff and Class Members.

       114.    As a direct and proximate result of Maximus’s breach of contract, Plaintiff and

Class Members are entitled to damages, including compensatory, punitive, and/or nominal

damages, in an amount to be proven at trial.

                                           COUNT IV
                                 BREACH OF CONFIDENCE
                              (on behalf of Plaintiff and the Class)

       115.    Plaintiff re-alleges and incorporates by reference herein all the allegations

contained in the preceding paragraphs.

       116.    Plaintiff and Class Members have an interest, both equitable and legal, in their PII

and PHI that was conveyed to, collected by, and maintained by Maximus and that was accessed

or compromised in the Data Breach.

       117.    Maximus was provided with and stored private and valuable PHI related to

Plaintiff and the Class, which it was required to maintain in confidence.



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       118.    Plaintiff and the Class provided Maximus with their personal and confidential

PHI under both the express and/or implied agreement of Maximus to limit the use and disclosure

of such PHI.

       119.    Maximus owed a duty to Plaintiff and Class Members to exercise the utmost care

in obtaining, retaining, securing, safeguarding, deleting, and protecting their PHI in its

possession from being compromised, lost, stolen, accessed by, misused by, or disclosed to

unauthorized persons.

       120.    Maximus had an obligation to maintain the confidentiality of Plaintiff’s and Class

Members’ PHI.

       121.    Plaintiff and Class Members have a privacy interest in their personal medical

matters, and Maximus had a duty not to disclose their confidential medical information.

       122.    As a result of the parties’ relationship, Maximus had possession and knowledge of

confidential PHI and confidential medical records of Plaintiff and Class Members.

       123.    Plaintiff’s and Class Members’ PHI is not generally known to the public and is

confidential by nature.

       124.    Plaintiff and Class Members did not consent to nor authorize Maximus to release

or disclose their PHI to unknown criminal actors.

       125.    Maximus breached the duties of confidence it owed to Plaintiff and Class

Members when Plaintiff’s and Class Members’ PHI was disclosed to unknown criminal hackers.

       126.    Maximus breached its duties of confidence by failing to safeguard Plaintiff’s and

Class Members’ PHI, including by, among other things: (a) mismanaging its system and failing

to identify reasonably foreseeable internal and external risks to the security, confidentiality, and

integrity of customer information that resulted in the unauthorized access and compromise of PII



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and PHI; (b) mishandling its data security by failing to assess the sufficiency of its safeguards in

place to control these risks; (c) failing to design and implement information safeguards to control

these risks; (d) failing to adequately test and monitor the effectiveness of the safeguards’ key

controls, systems, and procedures; (e) failing to evaluate and adjust its information security

program in light of the circumstances alleged herein; (f) failing to detect the breach at the time it

began or within a reasonable time thereafter; (g) failing to follow its own privacy policies and

practices published to Plaintiff and Class Members; (h) storing PHI and medical

records/information in an unencrypted and vulnerable manner, allowing its disclosure to hackers;

and (i) making an unauthorized and unjustified disclosure and release of Plaintiff’s and Class

Members’ PHI and medical records/information to a criminal third party.

       127.    But for Maximus’s wrongful breach of its duty of confidences owed to Plaintiff

and Class Members, their privacy, confidences, and PHI would not have been compromised.

       128.    As a direct and proximate result of Maximus’s breach of Plaintiff’s and Class

Members’ confidences, Plaintiff and Class Members have suffered injuries, including:

           a. Loss of their privacy and confidentiality in their PHI;

           b. Theft of their PII and PHI;

           c. Costs associated with the detection and prevention of identity theft and

               unauthorized use of their PII and PHI;

           d. Costs associated with purchasing credit monitoring and identity theft protection

               services;

           e. Lowered credit scores resulting from credit inquiries following fraudulent

               activities;




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    f. Costs associated with time spent and the loss of productivity from taking time to

       address and attempt to ameliorate, mitigate, and deal with the actual and future

       consequences of the Data Breach – including finding fraudulent charges,

       cancelling and reissuing cards, enrolling in credit monitoring and identity theft

       protection services, freezing and unfreezing accounts, and imposing withdrawal

       and purchase limits on compromised accounts;

    g. The imminent and certainly impending injury flowing from the increased risk of

       potential fraud and identity theft posed by their PII and PHI being placed in the

       hands of criminals;

    h. Damages to and diminution in value of their PII and PHI entrusted, directly or

       indirectly, to Maximus with the mutual understanding that Maximus would

       safeguard Plaintiff’s and Class Members’ data against theft and not allow access

       and misuse of their data by others;

    i. Continued risk of exposure to hackers and thieves of their PII and/or PHI, which

       remains in Maximus’s possession and is subject to further breaches so long as

       Maximus fails to undertake appropriate and adequate measures to protect

       Plaintiff’s and Class Members’ data;

    j. Loss of personal time spent carefully reviewing statements from health insurers

       and providers to check for charges for services not received, as directed to do by

       Maximus; and

    j. Mental anguish accompanying the loss of confidences and disclosure of their

       confidential and private PHI.




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       129.    Additionally, Maximus received payments from Plaintiff and Class Members for

services with the understanding that Maximus would uphold its responsibilities to maintain the

confidences of Plaintiff’s and Class Members’ private medical information.

       130.    Maximus breached the confidence of Plaintiff and Class Members when it made

an unauthorized release and disclosure of their confidential medical information and/or PHI and,

accordingly, it would be inequitable for Maximus to retain the benefit at Plaintiff’s and Class

Members’ expense.

       131.    As a direct and proximate result of Maximus’s breach of its duty of confidences,

Plaintiff and Class Members are entitled to damages, including compensatory, punitive, and/or

nominal damages, and/or disgorgement or restitution, in an amount to be proven at trial.

                                           COUNT V
                                   UNJUST ENRICHMENT
                              (on behalf of Plaintiff and the Class)

       132.    Plaintiff re-alleges and incorporates by reference herein all the allegations

contained in the preceding paragraphs.

       133.    Plaintiff and Class Members have an interest, both equitable and legal, in their

PHI and PII that was conferred upon, collected by, and maintained by Maximus and that was

stolen in the Data Breach.

       134.    Maximus benefitted from the conferral upon it of Plaintiff’s and Class Members’

PII and PHI, and by its ability to retain and use that information. Maximus understood that it so

benefitted.

       135.    Maximus also understood and appreciated that Plaintiff’s and Class Members’

PHI and PII was private and confidential and that its value depended upon Maximus maintaining

its privacy and confidentiality.



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       136.    But for Maximus’s willingness and commitment to maintain its privacy and

confidentiality, that PHI and PII would not have been transferred to and entrusted with Maximus.

Further, if Maximus had disclosed that its data security measures were inadequate, Maximus

would not have been permitted to continue in operation by regulators and the healthcare

marketplace.

       137.    As a result of Maximus’s wrongful conduct as alleged in this Complaint

(including, among other things, its failure to employ adequate data security measures, its

continued maintenance and use of Plaintiff’s and Class Members’ PHI without having adequate

data security measures, and its other conduct facilitating the theft of that PHI and PII), Maximus

has been unjustly enriched at the expense of, and to the detriment of, Plaintiff and Class

Members.

       138.    Maximus’s unjust enrichment is traceable to, and resulted directly and

proximately from, the conduct alleged herein, including the compilation and use of Plaintiff’s

and Class Members’ sensitive PHI and PII, while at the same time failing to maintain that

information secure from intrusion and theft by hackers.

       139.    Under the common law doctrine of unjust enrichment, it is inequitable for

Maximus to be permitted to retain the benefits it received, and is still receiving, without

justification, from the use of Plaintiff’s and Class Members’ PHI and PII in an unfair and

unconscionable manner. Maximus’s retention of such benefits under circumstances making it

inequitable to do so constitutes unjust enrichment.

       140.    The benefit conferred upon, received, and enjoyed by Maximus was not conferred

officiously or gratuitously, and it would be inequitable and unjust for Maximus to retain the

benefit.



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                                          COUNT VI
                          INJUNCTIVE/DECLARATORY RELIEF
                             (on behalf of Plaintiff and the Class)

       141.    Plaintiff re-alleges and incorporates by reference herein all the allegations

contained in the preceding paragraphs.

       142.    Maximus owes a duty of care to Plaintiff and Class Members requiring it to

adequately secure PII and PHI.

       143.    Maximus still stores Plaintiff’s and Class Members’ PII and PHI.

       144.    Since the Data Breach, Maximus has announced no specific changes to its data

security infrastructure, processes, or procedures to fix the vulnerabilities in its computer systems

and/or security practices which permitted the Data Breach to occur and, thereby, prevent similar

incidents from occurring in the future.

       145.    Maximus has not satisfied its legal duties to Plaintiff and Class Members.

       146.    Actual harm has arisen in the wake of the Data Breach regarding Maximus’s

duties of care to provide security measures to Plaintiff and Class Members. Further, Plaintiff and

Class Members are at risk of additional or further harm due to the exposure of their PII and PHI,

and Maximus’s failure to address the security failings that led to that exposure.

       147.    Plaintiff, therefore, seeks a declaration: (a) that Maximus’s existing security

measures do not comply with its duties of care to provide adequate security; and (b) that to

comply with its duties of care, Maximus must implement and maintain reasonable security

measures, including, but not limited to, the following:

           a. ordering that Maximus engage third-party security auditors as well as internal

               security personnel to conduct testing, including simulated attacks, penetration

               tests, and audits on Maximus’s systems on a periodic basis, and ordering



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                Maximus to promptly correct any problems or issues detected by such third-party

                security auditors;

            b. ordering that Maximus engage third-party security auditors and internal personnel

                to run automated security monitoring;

            c. ordering that Maximus audit, test, and train its security personnel regarding any

                new or modified procedures;

            d. ordering that Maximus segment PHI by, among other things, creating firewalls

                and access controls so that if one area of Maximus’s system is compromised,

                hackers cannot gain access to other portions of Maximus’s systems;

            e. ordering that Maximus purge, delete, and destroy in a reasonably secure manner

                PII and PHI not necessary for its provision of services;

            f. ordering that Maximus conduct regular computer system scanning and security

                checks; and

            g. ordering that Maximus routinely and continually conduct internal training and

                education to inform internal security personnel how to identify and contain a

                breach when it occurs and what to do in response to a breach.

                                     PRAYER FOR RELIEF

        WHEREFORE Plaintiff, individually and on behalf of all others similarly situated, prays

for relief as follows:

        a. for an Order certifying the Class as defined herein, and appointing Plaintiff and his

            counsel to represent the Class;

        b. for equitable relief enjoining Maximus from engaging in the wrongful conduct

            complained of herein pertaining to the misuse and/or disclosure of Plaintiff’s and


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         Class Members’ PII and PHI, and from refusing to issue prompt, complete, and

         accurate disclosures to Plaintiff and Class Members;

     c. for equitable relief compelling Maximus to use appropriate cyber security methods

         and policies with respect to PII and PHI collection, storage, and protection, and to

         disclose with specificity to Class Members the types of PII and PHI compromised;

     d. for an award of damages, including actual, nominal, consequential, enhanced

         compensatory, and punitive damages, as allowed by law in an amount to be

         determined;

     e. for an award of attorneys’ fees, costs, and litigation expenses, as allowed by law;

     f. for prejudgment interest on all amounts awarded; and

     g. such other and further relief as this Court may deem just and proper.

                               DEMAND FOR JURY TRIAL

     Plaintiff hereby demands a trial by jury on all issues so triable.



Dated: August 2, 2023                            Respectfully submitted,

                                                 KELLY GUZZO PLC


                                                            /s/ Kristi C. Kelly               .
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